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7                                  UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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10    KARI JEAN CARR,                               Case No. 2:24–cv–1509–CSK
11                        Plaintiff,                ORDER GRANTING IFP AND
                                                    DIRECTING SERVICE
12              v.
                                                    (ECF No. 2)
13    COMMISSIONER OF SOCIAL
      SECURITY,
14
                          Defendant.
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16             This case was referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1),

17   Federal Rule of Civil Procedure 72, and Eastern District of California Local Rule

18   302(c)(15) and Appx. A subsection (j). Plaintiff Kari Jean Carr requests leave to proceed

19   in forma pauperis (“IFP”) without prepayment of the filing fee under 28 U.S.C. § 1915.

20   (ECF No. 2.) Plaintiff’s affidavit demonstrates an inability to prepay fees and costs or

21   give security for them, and so is GRANTED. The Clerk of Court is directed to issue: (i) a

22   summons for this case pursuant to Rule 3 of the Supplemental Rules for Social Security

23   actions; (ii) the undersigned’s scheduling order for Social Security cases; and (iii) the

24   court’s order regarding consent to the jurisdiction of a magistrate judge.

25   Dated: May 31, 2024

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27   3, carr.1509


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